      Case 6:21-cv-00162-ADA-JCM Document 178 Filed 07/12/21 Page 1 of 2



                IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF TEXAS
                               WACO DIVISION

 JEREMY BRAVO, LINDSEY NGUYEN, et
 al.,

        Plaintiffs,                               Case No.: 21-cv-162-ADA-JCM
 v.

 NANCY PELOSI, MITCH McCONNELL,
 et al.,

       Defendants.

       JOINT STIPULATION OF VOLUNTARY DISMISSAL OF DEFENDANT
        OKLAHOMA GOVERNOR KEVIN STITT UNDER RULE 41(a)(1)(A)(ii)

        The Plaintiffs and Defendant Oklahoma Governor Kevin Stitt, by and through their

counsel of record, hereby stipulate pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that the above-

entitled action be dismissed without prejudice as to Defendant Oklahoma Governor Kevin Stitt,

with each party to be responsible for their own court costs and attorney fees.



 /s/ Paul M. Davis                                /s/      Lauren Ray
 (signed with permission of counsel)              LAUREN RAY, OBA#22694
 PAUL M. DAVIS, TX BAR#24078401                   Assistant Attorney General
 Paul M. Davis & Assoc. P.C.                      Oklahoma Attorney General’s Office
 5720 Frisco Square Blvd., #2066                  Litigation Unit
 Frisco, TX 75034                                 313 NE 21st St.
 Telephone: 469.850.2930                          Oklahoma City, OK 73105
 Email: paul@fireduptxlawyer.com                  Telephone: 405.521.3921
 Attorney for Plaintiffs                          Facsimile: 405.521.4518
                                                  Email: lauren.ray@oag.ok.gov
                                                  Attorney for Oklahoma Governor Kevin Stitt
    Case 6:21-cv-00162-ADA-JCM Document 178 Filed 07/12/21 Page 2 of 2



                                 CERTIFICATE OF SERVICE

         I hereby certify that on this ** day of July 2021, I electronically transmitted the foregoing
document to the Clerk of Court using the ECF System for filing. I further certify that a true and
correct copy of the foregoing document was sent via the Court’s ECF System to all registered
parties.


                                                /s/ Lauren Ray
                                                Lauren Ray




                                               ~2~
